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13                             UNITED STATES DISTRICT COURT
14                            CENTRAL DISTRICT OF CALIFORNIA
15
       KELLEY ANTON, individually and              Case No: 5:19-cv-00534-CMB-SHK
16     on behalf of others similarly situated,
17             Plaintiff,                          PLAINTIFF’S NOTICE OF
                                                   SUPPLEMENTAL AUTHORITY
18     v.                                          RELEVANT TO DEFENDANT’S
                                                   MOTION TO DISMISS
19     PROSPERA HOTELS, INC. d/b/a
       HYATT HOUSE AT ANAHEIM
20     RESORT/CONVENTION
       CENTER, a California corporation,
21
               Defendant.
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                              PLAINTIFF’S NOTICE OF SUPPLEMENTAL AUTHORITY
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  1          Plaintiff Kelley Anton, individually and on behalf of others similarly situated,
  2   respectfully submits supplemental authority in support of Plaintiff’s Opposition to
  3   Defendant’s Motion to Dismiss First Amended Class Action Complaint.
  4          The July 2, 2019 Decision and Order of the United States Court of Appeals for
  5   the District of Columbia Circuit in Jeffries v. Volume Services of America, Inc., No. 18-7139
  6   (D.C. Cir. July 2, 2019) is attached as Exhibit A.
  7
  8   Dated: July 2, 2019                        Respectfully submitted,
  9
10                                               /s/ Annick M. Persinger
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                            PLAINTIFF’S NOTICE OF SUPPLEMENTAL AUTHORITY
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                                                      EXHIBIT A
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                United States Court of Appeals
                        FOR THE DISTRICT OF COLUMBIA CIRCUIT



               Argued February 21, 2019               Decided July 2, 2019

                                      No. 18-7139

                         DORIS JEFFRIES, ON BEHALF OF HERSELF
                         AND ALL OTHERS SIMILARLY SITUATED,
                                      APPELLANT

                                            v.

                          VOLUME SERVICES AMERICA, INC.,
                         DOING BUSINESS AS CENTERPLATE AND
                 CENTERPLATE/NBSE AND DOES 1 THROUGH 10, INCLUSIVE,
                                     APPELLEES


                       Appeal from the United States District Court
                               for the District of Columbia
                                   (No. 1:17-cv-01788)


                  Brian K. Herrington argued the cause for the appellant.
               Chant Yedalian was with him on brief.

                   Mark W. Bayer argued the cause for the appellee Volume
               Services America, Inc. Scott N. Godes was with him on brief.

                  Before: HENDERSON and ROGERS, Circuit Judges, and
               EDWARDS, Senior Circuit Judge.

                   Opinion for the Court filed by Circuit Judge HENDERSON.
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                    Opinion concurring in part and concurring in the judgment
               filed by Circuit Judge ROGERS.

                    KAREN LECRAFT HENDERSON, Circuit Judge: Doris
               Jeffries made a credit card purchase at a Centerplate 1 location
               and received a receipt that displayed her sixteen-digit credit
               card number and credit card expiration date. Jeffries sued
               Centerplate for violating the Fair and Accurate Credit
               Transactions Act of 2003 (FACTA), Pub. L. No. 108-159,
               § 113, 117 Stat. 1952, 1959–60 (codified at 15 U.S.C.
               § 1681c(g)), which prohibits printing “more than the last 5
               digits of the card number or the expiration date upon any
               receipt provided to the cardholder at the point of the sale or
               transaction.” 15 U.S.C. § 1681c(g)(1). The district court
               granted Centerplate’s motion to dismiss, concluding that
               Jeffries lacked standing. Jeffries v. Volume Servs. Am., Inc.,
               319 F. Supp. 3d 525, 527 (D.D.C. 2018). Jeffries timely
               appealed and we now reverse and remand.

                                     I. BACKGROUND

                    “The crime of identity theft—in which a perpetrator
               assumes the identity of a victim in order to obtain financial
               products and services or other benefits in the victim’s name—
               ha[d] reached almost epidemic proportions” in the early 2000s.
               H.R. Rep. No. 108-263, at 25 (2003). “A hotline established
               by the Federal Trade Commission to field consumer complaints
               and questions about identity theft logged over 160,000 calls in
               2002 alone.” Id. “[E]lectronically printed receipts” provided
               criminals with “easy access to” credit and debit card
               information. S. Rep. No. 108-166, at 3 (2003). In response
               to the increasing identity theft threat, the Congress enacted

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                     The named defendant is Volume Services America, LLC,
               which does business as Centerplate. The parties refer to the
               defendant as Centerplate and we follow suit.
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               FACTA, which mandates (inter alia): “no person that accepts
               credit cards or debit cards for the transaction of business shall
               print more than the last 5 digits of the card number or the
               expiration date upon any receipt provided to the cardholder at
               the point of the sale or transaction.” 15 U.S.C. § 1681c(g)(1).
               Any person who willfully violates this truncation
               requirement—that is, anyone who willfully prints more than
               five digits or the expiration date on a receipt—is liable for “any
               actual damages sustained by the consumer . . . or damages of
               not less than $100 and not more than $1,000” and for “such
               amount of punitive damages as the court may allow.” Id.
               § 1681n(a)(1)(A), (a)(2).

                    Doris Jeffries made a purchase at a Centerplate location.
               Centerplate provided Jeffries with a receipt containing all
               sixteen digits of her credit card number, her credit card
               expiration date and her credit card provider. She immediately
               recognized that the receipt contained her personal information
               and held on to it for safekeeping. Jeffries then filed this class
               action lawsuit against Centerplate, alleging willful violations
               of FACTA’s truncation requirement. According to the
               complaint, Centerplate’s conduct violated Jeffries’ statutory
               right and, as a result, exposed her to an increased risk of
               identity theft. Because of Centerplate’s conduct, Jeffries was
               also forced to take steps to safeguard the non-compliant receipt.

                    Centerplate moved to dismiss the case for lack of standing.
               Jeffries, 319 F. Supp. 3d at 528. The district court determined
               that Jeffries did not suffer an increased risk of identity theft
               because Jeffries—and only Jeffries—viewed the receipt
               containing her credit card information. Id. at 533–34. The
               district court also concluded that the burden of safeguarding the
               non-compliant receipt—the second form of harm identified in
               the complaint—was insufficiently concrete to support
               standing. Id. at 530. Finding both harms alleged in the
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               complaint inadequate, the district court held that Jeffries lacked
               standing and dismissed her case for lack of subject-matter
               jurisdiction. Id. at 534. Jeffries appeals the dismissal. “Our
               review is de novo.” Nat’l Ass’n of Home Builders v. U.S. Fish
               & Wildlife Serv., 786 F.3d 1050, 1052 (D.C. Cir. 2015).

                                        II. ANALYSIS

                    Article III of the United States Constitution limits the
               federal “judicial Power” to “Cases” and “Controversies.”
               U.S. Const. art. III, § 2, cl. 1. A case or controversy does not
               exist “unless the plaintiff has standing.” West v. Lynch, 845
               F.3d 1228, 1230 (D.C. Cir. 2017). Standing has three
               elements. “The plaintiff must have (1) suffered an injury in
               fact, (2) that is fairly traceable to the challenged conduct of the
               defendant, and (3) that is likely to be redressed by a favorable
               judicial decision.” Spokeo, Inc. v. Robins, 136 S. Ct. 1540,
               1547 (2016). An injury in fact is “an invasion of a legally
               protected interest which is (a) concrete and particularized and
               (b) actual or imminent, not conjectural or hypothetical.”
               Lujan v. Defs. of Wildlife, 504 U.S. 555, 560 (1992) (quotation
               marks and internal citations omitted). The district court
               dismissed this action at the pleading stage, when a plaintiff is
               required only to state plausibly that each standing element
               exists. Attias v. Carefirst, Inc., 865 F.3d 620, 625 (D.C. Cir.
               2017). Causation and redressability are not in dispute. The
               issue is whether Jeffries alleged an adequate injury in fact.

                    Jeffries contends that the violation of her statutory right
               under FACTA constitutes an injury in fact without any
               additional showing of harm. “[T]he violation of a procedural
               right granted by statute can be sufficient in some circumstances
               to constitute injury in fact.” Spokeo, Inc., 136 S. Ct. at 1549.
               The United States Supreme Court has long recognized that the
               “Congress may create a statutory right or entitlement the
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               alleged deprivation of which can confer standing to sue even
               where the plaintiff would have suffered no judicially
               cognizable injury in the absence of statute.” Warth v. Seldin,
               422 U.S. 490, 514 (1975).

                    The concreteness component of injury in fact sharply
               limits when a plaintiff can establish standing based solely on a
               violation of his statutory rights. An injury in fact must always
               be “concrete”—that is, “real” and “de facto,” not “abstract.”
               Spokeo, Inc., 136 S. Ct. at 1548; Hancock v. Urban Outfitters,
               Inc., 830 F.3d 511, 514 (D.C. Cir. 2016) (“[T]he legislature
               cannot dispense with the constitutional baseline of a concrete
               injury in fact.”). This means the Congress cannot authorize a
               lawsuit based on a “bare procedural violation” of a statute
               divorced from any “real” or “de facto” harm. Spokeo, Inc.,
               136 S. Ct. at 1549. After all, a “procedural right in vacuo” is
               nothing more than an abstract “interest in the proper
               administration of the law.” Summers v. Earth Island Inst., 555
               U.S. 488, 496–97 (2009). For a statutory violation to
               constitute an injury in fact, then, the statute must protect the
               plaintiff’s concrete interest—i.e., afford the putative plaintiff a
               right to be free of a harm capable of satisfying Article III.
               Accord Strubel v. Comenity Bank, 842 F.3d 181, 190 (2d Cir.
               2016) (“[A]n alleged procedural violation can by itself
               manifest concrete injury where Congress conferred the
               procedural right to protect a plaintiff’s concrete interests.”);
               Robins v. Spokeo, Inc., 867 F.3d 1108, 1113 (9th Cir. 2017)
               (same).

                   Jeffries believes FACTA is such a statute and vests
               consumers with a concrete interest in using their credit and
               debit cards without incurring an increased risk of identity theft.
               We agree. FACTA’s truncation requirement imposes on the
               merchant the duty not to print “more than the last 5 digits of
               the card number or the expiration date.”             15 U.S.C.
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               § 1681c(g)(1). The duty applies at the “point of the sale or
               transaction” and a violation occurs regardless whether a
               plaintiff ever becomes the victim of any crime. Id.; see also
               id. § 1681n (making available statutory damages). In other
               words, FACTA itself does not prohibit the crimes of identity
               theft or fraud; its truncation requirement is a “‘procedure[]
               designed to decrease th[e] risk’ that a consumer would have his
               identity stolen.” Muransky v. Godiva Chocolatier, Inc., 922
               F.3d 1175, 1188 (11th Cir. 2019) (first alteration in original)
               (quoting Spokeo, Inc., 136 S. Ct. at 1550). The requirement
               thus vests consumers with an interest in using their credit and
               debit cards without facing an increased risk of identity theft. 2

                    The question now becomes whether the interest protected
               by FACTA—avoiding an increased risk of identity theft—is
               concrete. “In determining whether an intangible harm” like
               risk is concrete, “both history and the judgment of Congress
               play important roles.” Spokeo, Inc., 136 S. Ct. at 1549. The
               historical analysis focuses on “whether an alleged intangible
               harm has a close relationship to a harm that has traditionally
               been regarded as providing a basis for a lawsuit in English or
               American courts.” Id. “In addition, because Congress is well
               positioned to identify intangible harms that meet minimum
               Article III requirements, its judgment is also instructive and
               important.” Id.

                   History tilts toward concreteness. “A common law
               breach of confidence lies where a person offers private

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                       There are other indirect harms attendant on a violation of
               FACTA’s truncation requirement.            The requirement relieves
               consumers of having to worry about the content of printed receipts
               and of having to safeguard or destroy receipts containing too much
               information. These additional harms, although not the focus of our
               inquiry, bolster Jeffries’ assertion that FACTA protects a concrete
               interest.
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                information to a third party in confidence and the third party
                reveals that information” to another. Muransky, 922 F.3d at
                1190–91. This tort “is rooted in the concept that the law
                should recognize some relationships as confidential to
                encourage uninhibited discussions between the parties
                involved.” Young v. U.S. Dep’t of Justice, 882 F.2d 633, 640
                (2d Cir. 1989). The harm in a breach-of-confidence case
                “occurs when the plaintiff’s trust in the breaching party is
                violated, whether or not the breach has other consequences.”
                Muransky, 922 F.3d at 1190.                 FACTA’s truncation
                requirement establishes a similar relationship of trust between
                consumer and merchant, requiring the merchant to safeguard
                the consumer’s credit or debit card information and thus
                preventing an increased risk of identity theft. See 15 U.S.C.
                § 1681c(g)(1). That is not to say a FACTA violation and a
                breach of confidence are identical. Part of the harm involved
                in a breach of confidence is actual disclosure to a third party.
                See Kamal v. J. Crew Grp., Inc., 918 F.3d 102, 114 (3d Cir.
                2019) (“[A] breach of confidence involves ‘the unconsented,
                unprivileged disclosure to a third party of nonpublic
                information that the defendant has learned within a confidential
                relationship.’” (quoting Alan B. Vickery, Note, Breach of
                Confidence: An Emerging Tort, 82 Colum. L. Rev. 1426, 1455
                (1982)). FACTA punishes conduct that increases the risk of
                third-party disclosure, not the actual disclosure itself.
                Muransky, 922 F.3d at 1191. Even so, “risk” is nothing more
                than a “possibility of loss, injury, disadvantage, or destruction.”
                Webster’s Third New International Dictionary 1961 (1976).
                And FACTA protects against the risk of the very harm the
                breach of confidence tort makes actionable—an unauthorized
                disclosure of privileged information to a third party. This is
                the type of “close relationship” with “a harm that has
                traditionally been regarded as providing a basis for a lawsuit in
                English or American courts” that weighs in favor of
                concreteness. Spokeo, Inc., 136 S. Ct. at 1549 (emphasis
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                added). Compare Muransky, 922 F.3d at 1191 (FACTA “has
                a sufficiently close relationship to breach of confidence to
                satisfy Spokeo”), with Kamal, 918 F.3d at 114 (finding
                relationship too remote because FACTA does not require
                actual disclosure to third party).

                     We also give weight to the Congress’s determination that
                printing too much credit card information on a receipt creates
                a “real” or “de facto” harm. It found that printing excess credit
                card information gives “criminals . . . easy access to such key
                information” and thus contributes to identity theft. S. Rep.
                No. 108-166, at 3. “After hearing from experts on the matter,
                Congress decided to set the tolerable level of risk at printing
                the last five digits of a card number.” Muransky, 922 F.3d at
                1188. The line between a concrete and an abstract risk is,
                understandably, hard to draw. For that reason, the Congress’s
                judgment about when increased risk becomes intolerable is
                entitled to respect. See Spokeo, Inc., 136 S. Ct. at 1549.

                     Our analysis does not stop with the conclusion that
                FACTA protects a concrete interest. See id. at 1550 (some
                statutory violations “may result in no harm” and thus do not
                constitute injury in fact); Owner-Operator Indep. Drivers
                Ass’n, Inc. v. U.S. Dep’t of Transp., 879 F.3d 339, 343 (D.C.
                Cir. 2018) (even if statute protects concrete interest, “the
                putative plaintiff” must have “suffered a de facto injury
                resulting from the procedural violation”). We must also
                determine whether the challenged violation of Jeffries’
                statutory right harmed or created a “risk of real harm” to the
                concrete interests protected by FACTA. Spokeo, Inc., 136 S.
                Ct. at 1549. Jeffries views the inquiry as open and shut,
                arguing that every FACTA violation creates a risk of identity
                theft. Her view finds support in a recent Eleventh Circuit
                decision, which determined that “Congress decided to set the
                tolerable level of risk at printing the last five digits of a card
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                number.” Muransky, 922 F.3d at 1188. The Eleventh Circuit
                therefore “decline[d] to substitute [its] judgment for
                Congress’s by saying that, as a matter of law, the risk of
                identity theft is not concrete until a merchant prints the first
                eight or ten digits instead of the first six.” Id.

                     But not every violation of FACTA’s truncation
                requirement creates a risk of identity theft. Several years after
                enacting FACTA, the Congress found that “hundreds of
                lawsuits were filed alleging that the failure to remove the
                expiration date was a willful violation of” FACTA “even where
                the account number was properly truncated” and that “[n]one
                of these lawsuits contained an allegation of harm to any
                consumer’s identity.”        Credit and Debit Card Receipt
                Clarification Act of 2007, Pub. L. No. 110-241, § 2(a)(4)–(5)
                122 Stat. 1565, 1565. According to the Congress, “proper
                truncation of the card number, by itself as required by”
                FACTA, “regardless of the inclusion of the expiration date,
                prevents a potential fraudster from perpetrating identity theft or
                credit card fraud.” Id. § 2(a)(6), 122 Stat. at 1565. Thus,
                printing an expiration date on a receipt without more—
                although a technical violation of FACTA—does not create a
                risk of identity theft; accordingly, a plaintiff who has suffered
                this type of FACTA violation has been able to use his credit
                card without incurring an increased risk of identity theft—i.e.,
                has not suffered a concrete injury in fact. That is why our
                sister circuits, applying Spokeo, have unanimously concluded
                that a FACTA violation based solely on a failure to truncate an
                expiration date does not qualify as a concrete injury in fact.
                Accord Bassett v. ABM Parking Servs., Inc., 883 F.3d 776, 783
                (9th Cir. 2018) (no standing where plaintiff alleged FACTA
                violation by printing only expiration date on receipt); Crupar-
                Weinmann v. Paris Baguette Am., Inc., 861 F.3d 76, 81 (2d Cir.
                2017) (same); Meyers v. Nicolet Rest. of De Pere, LLC, 843
                F.3d 724, 727 (7th Cir. 2016) (same). As explained infra,
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                however, none of these courts encountered a FACTA violation
                as egregious as the one committed by Centerplate.

                     Although not every FACTA violation creates a concrete
                injury in fact, we conclude that the alleged violation of Jeffries’
                right does so. The Act requires the truncation of two
                categories of information at the point of sale: credit card digits
                and expiration date. 15 U.S.C. § 1681c(g)(1) (“[N]o person
                that accepts credit cards or debit cards for the transaction of
                business shall print more than the last 5 digits of the card
                number or the expiration date upon any receipt.”). Centerplate
                printed all of the information in both categories, creating the
                nightmare scenario FACTA was enacted to prevent, see
                Remarks on Signing the Fair and Accurate Credit Transactions
                Act of 2003, 39 Weekly Comp. Pres. Doc. 1746, 1748 (Dec. 4,
                2003) (“Slips of paper that most people throw away should not
                hold the key to their savings and financial secrets.”). Unlike a
                receipt containing only an expiration date, Jeffries’ receipt bore
                sufficient information for a criminal to defraud her. At the
                point of sale—the time at which FACTA measures liability—
                there was no way to know whether Jeffries would recognize
                Centerplate’s mistake and mitigate any harm or whether the
                receipt would end up in the trash for anyone to find or
                otherwise be accessed by a malevolent third party (e.g., an
                employee or fellow customer). Accordingly, Jeffries was not
                able to use her credit card without incurring an increased risk
                of identity theft and, as a result, suffered a concrete injury in
                fact. She has pleaded enough facts to establish standing.

                     Centerplate focuses much of its defense on the fact that
                Jeffries has not become a victim of identity theft because,
                through her own efforts, she has mitigated any risk of a third
                party accessing her credit card information. These facts,
                although true, are irrelevant. As noted earlier, FACTA itself
                does not prohibit the crime of identity theft; instead, it
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                                                 11
                establishes a procedural requirement to ensure that consumers
                can use their credit and debit cards without incurring an
                increased risk of identity theft. Moreover, there was no
                guarantee at the point of sale that Jeffries would recognize and
                safeguard the non-compliant receipt. Just as someone who
                replaces the pin in a grenade remains, nonetheless, previously
                at risk of getting blown up, Jeffries’ effort to safeguard her
                receipt does not change the fact that she was prevented from
                using her credit card without at the same time facing exposure
                to increased identity theft risk. Because the receipt contained
                enough information to defraud Jeffries, she suffered an injury
                in fact at the point of sale.

                     Centerplate also contends that a decision in Jeffries’ favor
                will create tension with the Third Circuit’s opinion in Kamal v.
                J. Crew Group, which held that a plaintiff failed to establish
                standing when a merchant printed the first six digits of his
                credit card number on a receipt, 918 F.3d at 116–17. Yet the
                Third Circuit determined that a FACTA violation can support
                standing if the plaintiff faces a real or material risk of identity
                theft. Id. at 116. The court found no standing in that case
                because the plaintiff failed to allege that “the receipt included
                enough information to likely enable identity theft.” Id. It
                expressly stated its “analysis would be different if, for example,
                [the plaintiff] had alleged that the receipt included all sixteen
                digits of his credit card number, making the potential for fraud
                significantly less conjectural.” Id. In other words, the Third
                Circuit recognized its analysis would be different if it were
                presented with the facts Jeffries presents to us. 3 See id.


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                       We are not necessarily in full agreement with the Third
                Circuit, which takes the position that FACTA protects an interest in
                avoiding actual identity theft, rather than increased risk of identity
                theft. See Kamal, 918 F.3d at 115 (“[T]he FACTA provision at
                issue was part of Congress’s effort to prevent the concrete harm of
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                     Finally, and on a separate score, Centerplate argues
                Jeffries’ injury fails the imminence requirement of injury in
                fact because the risk of her suffering future identity theft is
                speculative. An injury in fact must be “actual or imminent” as
                opposed to “‘conjectural’ or ‘hypothetical.’” Lujan, 504 U.S.
                at 560 (quoting Whitmore v. Arkansas, 495 U.S. 149, 155
                (1990)). Centerplate makes a fair point. We have repeatedly
                expressed skepticism of increased-risk-of-harm injuries
                because any future injury—no matter how speculative—can be
                recast as a present risk of future harm, thus purportedly meeting
                the imminence requirement of Article III. E.g., Ctr. for Law
                & Educ. v. Dep’t of Educ., 396 F.3d 1152, 1161 (D.C. Cir.
                2005); Pub. Citizen, Inc. v. Nat’l Highway Traffic Safety
                Admin., 489 F.3d 1279, 1294 (D.C. Cir. 2007). But Jeffries
                does not rely on increased risk of future identity theft as her
                injury in fact; she relies on an invasion of her concrete interest
                as protected by FACTA’s truncation requirement. The
                alleged violation of her statutory right has already occurred:
                there is nothing “conjectural” or “hypothetical” about it.
                Accord Robins, 867 F.3d at 1117–18; Macy v. GC Servs. Ltd.
                P’ship, 897 F.3d 747, 759–60 (6th Cir. 2018).




                identity theft.”).     As noted earlier, we disagree with that
                determination because FACTA (1) does not prohibit identity theft,
                (2) imposes a truncation duty at the point of sale when identity theft
                cannot yet have occurred and (3) does not make liability contingent
                on a showing of actual harm. See supra at 6. The distinction
                between risk of identity theft and actual identity theft as the relevant
                interest makes a difference in the concreteness inquiry. Where we
                have looked to see whether the alleged statutory violation increased
                Jeffries’ risk of identity theft, the Third Circuit analyzed how close
                the plaintiff came to suffering actual identity theft, a more onerous
                burden.
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                     For the foregoing reasons, we reverse the judgment of the
                district court and remand for further proceedings consistent
                with this opinion.

                                                                  So ordered.
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                     ROGERS, Circuit Judge, concurring in part and concurring
                in the judgment: The question before the court is whether
                appellant Doris Jeffries has plausibly alleged an Article III
                injury by pleading a violation of the Fair and Accurate Credit
                Transactions Act of 2003 (“FACTA”), Pub. L. No. 108-159,
                § 113, 117 Stat. 1952, 1959–60 (codified at 15 U.S.C.
                § 1681c(g)). See Op. 4; Lujan v. Defs. of Wildlife, 504 U.S.
                555, 560–61 (1992). The Supreme Court has clarified that to
                satisfy Article III, an injury-in-fact must be not only
                particularized but also concrete. Spokeo v. Robins, 136 S. Ct.
                1540, 1548 (2016). In the context of a statutory violation, our
                sister circuits have responded to Spokeo by examining
                (1) whether the statutory provision at issue “protect[s] a
                plaintiff’s concrete interests,” and (2) whether the specific
                statutory violation alleged in a given case “actually harm[ed],
                or present[ed] a material risk of harm to, such interests.”
                Robins v. Spokeo, 867 F.3d 1108, 1113 (9th Cir. 2017) (citing
                Strubel v. Comenity Bank, 842 F.3d 181, 190 (2d Cir. 2016));
                see Muransky v. Godiva Chocolatier, Inc., 922 F.3d 1175, 1186
                (11th Cir. 2019); Kamal v. J. Crew Grp., Inc., 918 F.3d 102,
                112–13 (3d Cir. 2019). Jeffries’ allegations meet this two-part
                test and I join the court in reversing the dismissal of her
                complaint for lack of standing. See Op. 2, 5, 8. I write
                separately because in my view Jeffries has shown FACTA
                protects her concrete interests (part one of the test) by pointing
                to “Congress’s determination that printing too much credit card
                information on a receipt creates a ‘real’ or ‘de facto’ harm,” id.
                at 8 (quoting Spokeo, 136 S. Ct. at 1548), regardless of whether
                she can also show that her injury is analogous to the harm
                associated with a common law breach of confidence, see id. at
                6–7.

                     In 2003, Congress found that identify theft had reached
                “almost epidemic proportions,” H.R. REP. NO. 108-263, at 25
                (2003), and that “electronically printed receipts” provided
                criminals with “easy access to” credit and debit card
                information, S. REP. NO. 108-166, at 3 (2003). To lower the
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                risk of identity theft, Congress enacted FACTA, which imposes
                a duty on persons accepting credit or debit cards for the
                transaction of business not to “print more than the last 5 digits
                of the card number or the expiration date upon any receipt
                provided to the cardholder at the point of sale or transaction.”
                15 U.S.C. § 1681c(g)(1). A private party who receives a non-
                conforming receipt may sue for actual damages in a case of
                negligent noncompliance, id. § 1681o(a), and for statutory
                damages (up to $1,000) and punitive damages in a case of
                willful noncompliance, id. § 1681n(a). Thus, “Congress
                decided to set the tolerable level of risk at printing the last five
                digits of a card number,” Op. 8–9 (quoting Muransky, 922 F.3d
                at 1188), and chose private lawsuits as its enforcement
                mechanism. Further, when Congress amended FACTA in 2008
                to “limit[] abusive lawsuits that do not protect consumers,” it
                left the truncation requirement and enforcement mechanism
                untouched. See Credit and Debit Card Receipt Clarification
                Act, Pub. L. No. 110-241, §§ 2(b), 3(a), 122 Stat. 1565, 1566
                (2008).

                     The Supreme Court has long held that Congress has the
                power to “define injuries” and articulate “new rights of action
                that do not have clear analogs in our common law tradition.”
                Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83, 126 n.22
                (O’Connor, J., concurring) (1998) (quoting Lujan, 504 U.S. at
                580 (Kennedy, J., concurring)); see Zivotofsky ex rel. Ari Z. v.
                Sec’y of State, 444 F.3d 614, 617–19 (D.C. Cir. 2006); see also
                William Baude, Standing in the Shadow of Congress, 2016
                SUP. CT. REV. 197, 199–203 (2016). For example, the Court
                has recognized Congress’s authority to create new rights that
                allow individuals to be free from competitive injury, Hardin v.
                Ky. Utils. Co., 390 U.S. 1, 6 (1968); receive “truthful
                information considering the availability of housing,” Havens
                Realty Corp. v. Coleman, 455 U.S. 363, 373 (1982); and access
                a wide range of government documents, see, e.g., Pub. Citizen
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                v. U.S. Dep’t of Justice, 491 U.S. 440, 449 (1989). None of
                these cases involved an analogy to a common law harm.
                Instead, the Court has indicated that the violation of a private
                statutory right constitutes an injury-in-fact so long as the
                plaintiff alleges the type of harm against which the statute is
                meant to guard. See Havens, 455 U.S. at 373–74; Hardin, 390
                U.S. at 5–7; see also FEC v. Akins, 524 U.S. 11, 20–22 (1998);
                Owner-Operator Indep. Drivers Ass’n, Inc. v. U.S. Dep’t of
                Transp., 879 F.3d 339, 344–45 (D.C. Cir. 2018); Friends of
                Animals v. Jewell, 828 F.3d 989, 992 (D.C. Cir. 2016).

                     Spokeo did not overrule this line of precedent. See 136
                S. Ct. at 1549–50 (citing Akins and Public Citizen with
                approval). On the one hand, the Court observed that in
                assessing concreteness it can be “instructive to consider
                whether an alleged intangible harm has a close relationship to
                a harm that has traditionally been regarded as providing a basis
                for a lawsuit in English or American courts” because such an
                historical inquiry may shed light on the case-or-controversy
                requirement of Article III. Id. at 1549 (citing Vermont Agency
                of Nat. Res. v. United States ex rel. Stevens, 529 U.S. 765, 775–
                77 (2000)). At the same time, the Court reaffirmed Congress’s
                “power to define injuries and articulate chains of causation that
                will give rise to a case or controversy where none existed
                before.” Id. (quoting Lujan, 504 U.S. at 580 (Kennedy, J.,
                concurring)). Thus, while the Court indicated that “historical
                practice” can be evidence of what constitutes a concrete injury-
                in-fact, it did not suggest that every plaintiff who alleges her
                statutory rights have been violated must analogize her injury to
                a harm recognized at common law. See id.

                     Here, it is unclear whether the proffered analogy between
                a FACTA violation and a breach of confidence supports
                Jeffries’ claim of standing. In Spokeo, 136 S. Ct. at 1549, the
                Court cited Vermont Agency, 529 U.S. at 775–77, to illustrate
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                how history can be “instructive.” Vermont Agency involved a
                qui tam action; a private individual brought a False Claims Act
                suit against a state agency on behalf of the United States. Id. at
                768–70. The Court held that the individual had Article III
                standing, explaining that qui tam actions are “Cases” or
                “Controversies” within the meaning of Article III because they
                were “prevalent” in England and America “in the period
                immediately before and after the framing of the Constitution.”
                Id. at 776–77. That historical relationship was much more
                straightforward — and compelling — than Jeffries’ view,
                accepted by this court, that the harm suffered by a FACTA
                plaintiff is analogous to the harm associated with a breach of
                confidence. See Pet’r’s Br. 25–26; Op. 7. The Third Circuit
                has concluded that the two harms differ in character because a
                breach of confidence requires disclosure to a third party but a
                FACTA violation does not. Kamal, 918 F.3d at 114. The
                Eleventh Circuit disagrees, concluding that the harms have a
                “sufficiently close relationship” because each occurs when a
                defendant’s mishandling of confidential information creates a
                heightened risk of future harm. Muransky, 922 F.3d at 1190–
                92. The vagueness of the “close relationship” test leaves ample
                room for a court to reach either conclusion and therefore does
                little to advance the standing analysis here. Further, even if the
                breach-of-confidence analogy were persuasive, it would be
                unnecessary; Jeffries has “independently” shown that FACTA
                protects her concrete interests “based on Congress’s judgment”
                that printing a full credit card number on a receipt creates a
                “heightened risk of identity theft.” Id. at 1190; see id. at 1187.

                    It also bears mentioning that FACTA lawsuits do not
                implicate traditional separation-of-powers concerns. The
                Supreme Court has long held that “[t]he law of Article III
                standing . . . serves to prevent the judicial process from being
                used to usurp the powers of the political branches.” Town of
                Chester v. Laroe Estates, Inc., 137 S. Ct. 1645, 1650 (2017)
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                (quoting Clapper v. Amnesty Int’l USA, 568 U.S. 398, 408
                (2013)); see, e.g., Lujan, 504 U.S. at 573–78. Standing doctrine
                preserves the separation of powers by limiting the
                circumstances in which “a private individual [may] invoke the
                judicial power to determine the validity of executive or
                legislative action.” Id. at 575 (quoting Ex parte Lévitt, 302 U.S.
                633, 634 (1937)); see Zivotofsky, 444 F.3d at 618. Separation-
                of-powers concerns are “generally absent,” however, “when a
                private party seeks to enforce only his personal rights against
                another private party.” Spokeo, 136 S. Ct. at 1551, 1553
                (Thomas, J., concurring) (citing F. Andrew Hessick, Standing,
                Injury in Fact, and Private Rights, 93 CORNELL L. REV. 275,
                317–321 (2008)). Here, “Congress has created a private duty
                owed personally to [Jeffries] to protect [her] information,” so
                Jeffries’ allegation that Centerplate breached that duty
                “suffices for Article III injury in fact.” Id. at 1554. Far from
                preserving the separation of powers, Centerplate’s contrary
                position invites the court to “substitute [its] judgment for
                Congress’s” by holding that printing a receipt displaying a full
                credit card number and expiration date is harmless. See
                Muransky, 922 F.3d at 1188.

                     Finally, because the parties have not raised the issue and it
                is unnecessary to the resolution of this appeal, I would leave for
                another day the question whether “printing an expiration date
                on a receipt without more,” in violation of FACTA, causes an
                Article III injury. Op. 9; see Muransky, 922 F.3d at 1189 n.5.
